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Attorneys for Lillian Logan, Cornell Rd LLC,
Christiana LLC, and Alexander LLC



                           UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF OREGON

In re                                                  Bankruptcy Case Nos.:

15005 NW Cornell LLC; and                              19-31883-dwh11 (Lead Case)
Vahan M. Dinihanian, Jr.,                              19-31886-dwh11
                Debtors.                               Jointly Administered Under
                                                       Case No. 19-31883-dwh11

                                                       LOGAN PARTIES’ OBJECTION TO
                                                       DEBTOR’S MOTION TO SHORTEN
                                                       TIME REGARDING DEBTOR’S
                                                       APPLICATION TO EMPLOY SPECIAL
                                                       PURPOSE COUNSEL

        Creditors and Interested Parties Lillian Logan, Cornell Rd LLC, Christiana LLC, and

Alexander LLC (collectively the "Logan Parties”), by and through their attorneys, Jordan Ramis

PC, hereby object to Debtor’s Motion to Shorten Time Regarding Application to Employ Special

Purpose Counsel (the “Motion to Employ’) [Dkt. 653].1 This objection is supported by the

following points and authorities and the court file.


1
 This bankruptcy case is administratively consolidated with Vahan M. Dinihanian, Jr.'s bankruptcy case,
19-31886-dwh11.
Page 1 – LOGAN PARTIES’ OBJECTION TO DEBTOR’S                                    JORDAN RAMIS PC
                                                                                   Attorneys at Law
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                      Case 19-31883-dwh11           Doc 656      Filed 12/05/22
       The Logan Parties do not object to time being shortened on the Debtor’s Motion to

Employ Special Counsel [Dkt. 653]. However, the Logan Parties request that the objection time

be set at noon on Wednesday, December 7, 2022, to allow the Logan Parties to sufficiently

investigate the statements made in connection with the Debtor’s Motion to Employ.

       The Motion to Employ was only filed on December 2, 2022, leaving only one business

day to respond. Under the circumstances, that is not sufficient.

               DATED this 5th day of December, 2022.

                                           JORDAN RAMIS PC



                                           By: /s/Daniel L. Steinberg
                                               Russell D. Garrett, OSB #882111
                                               Daniel L. Steinberg, OSB #993690

                                                 Attorneys for Lillian Logan, Cornell Rd LLC,
                                                 Christiana LLC, and Alexander LLC




Page 2 – LOGAN PARTIES’ OBJECTION TO DEBTOR’S                                   JORDAN RAMIS PC
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                     Case 19-31883-dwh11         Doc 656     Filed 12/05/22
                                   CERTIFICATE OF SERVICE

       I hereby certify that on the date shown below, I electronically filed the

foregoing LOGAN PARTIES’ OBJECTION TO DEBTOR’S MOTION TO SHORTEN

TIME REGARDING DEBTOR’S APPLICATION TO EMPLOY SPECIAL PURPOSE

COUNSEL with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to the following:

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        Possession Vahan M. Dinihanian, Jr.              Possession 15005 NW Cornell LLC

U.S. Trustee                                     Stephen P Arnot
US Trustee, Portland                             DOJ-UST
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                     Case 19-31883-dwh11         Doc 656      Filed 12/05/22
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DATED this 5th day of December, 2022.



                                          JORDAN RAMIS PC



                                          By: /s/Daniel L. Steinberg
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Page 4 – LOGAN PARTIES’ OBJECTION TO DEBTOR’S                              JORDAN RAMIS PC
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